         Case 1-17-46613-nhl       Doc 55    Filed 04/19/18     Entered 04/19/18 12:46:34




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                       x
In re:                                                     Chapter 11

BRACHA CAB CORP., et al.,                                  Case No. 1-17-46613(NHL)

                                                           Jointly Administered
                        Debtors.                       X



                                   AFFIDAVIT OF SERVICE

STATE OF NEW YORK  }
                   } ss:
COUNTY OF NEW YORK }

         I, Alissa K. Piccione, being duly sworn, deposes and says:

        That I am over eighteen years of age, am an associate at Troutman Sanders LLP, and am
not a party to this action.

       That on the 18th day of April 2018, I served true and correct copies of Capital One
Equipment Finance Corp.'s Objection to Debtors' Motion to Increase Exclusive Period to File
Plan [ECF No. 54](the "Objection") via Federal Express Overnight Courier upon:


                                   Rosenberg Musso &Weiner LLP
                                   Attn: Bruce Weiner
                                   26 Court Street
                                   Suite 2211
                                   Brooklyn, NY 11242

                                   Bracha Cab Corp.
                                   Attn: Esma Elberg
                                   1281 Carroll Street
                                   Brooklyn, NY 11213-4207

                                   Office ofthe United States Trustee
                                   Eastern District of NY
                                   U.S. Federal Office Building
                                   201 Varick Street, Suite 1006
                                   New York, NY 10014




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       That on the 18th day of Apri12018, I also served true and correct copies ofthe Objection
via email upon the parties on the attached service list.

                                                                          ~~~


                                                           Alissa K. Piccione

Sworn to before me this
19t~' day of Apri12018


    ~/(~

        Notary Public

          JOHN C MURPHY
N OTARY PUBLIC-STATE OF NEW vpR~.
           No:01 MU6346B75
      Q ualified In Nassau Countv
 M y Commission Expires 06-22-2020




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Email Service List

Bruce Weiner
Counsel for the Debtors
Email: bweiner(c~nvbankruptc.

Robert W.Piken
Counsel for Esma Elberg
Email: rwn(a~pikenandpiken.com

Charles D. Liebman
Counsel for Tamara Pewzner
Email: Charles.Liebman(cr~,Johnsonliebman.com
       chaslieb(a~vahoo.com

Robert Abrams
Counsel for Ruben Elberg
Email: babrams _,abramslaw.com

Brian Thomas McCarthy
Counsel for Ruben Elberg
Email: bmccarthy(~abramslaw.com

Gerard N. Misk
Counsel for Jack Margossian
Email: ~nisk(c~     awg er
       igillette(c~,gmlawyers.net

Nazar Khodorovsky
Counsel for the U.S. Trustee
Email: Nazar.Khodorovsky~a~usdoj_gov

Francesco Pomara, Jr.
Counsel for Ronald Jean Pierre
Email: fpomara(cr~,malliloandgrossman.com




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